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Attorney for Plaintiffs
__________________________________________________________________________

                    IN THE UNITED STATES DISTRICT COURT
               IN AND FOR THE STATE OF UTAH, CENTRAL DIVISION


 ALLEN ANDERSEN, an individual;
 NXLEVEL NETWORK, LLC, a Utah limited                DECLARATION OF EDWARD W.
 liability company; JESSICA ZIMMERMAN,                     McBRIDE, JR.
 an individual; ROBERT GURNEY, an
 individual; AMY HODGSON, an individual;
 and JOHN DOES 1-99,

        Plaintiffs,                                        Judge: Clark Waddoups
                                                        Magistrate Judge Dustin B. Pead
                Vs.

 STATE OF UTAH; UTAH DEPARTMENT                         Civil No.: 1:16-cv-00005-PMW
 OF HEALTH AND HUMAN SERVICES;
 JEFFREY S. HARRIS, an individual;
 GERALD GANSEY, an individual; DRAPER
 CITY; VIVIEN PEARSON, an individual;
 DAVID BERNAL, an individual; WEST
 JORDAN CITY; BRETT SU’A, an
 individual; RIVERDALE CITY; SANDY
 CITY; and WEST VALLEY CITY,

        Defendants.

       Edward W. McBride, Jr., attorney for Plaintiffs, makes the following declarations

regarding the above entitled matter and in response to Defendant State of Utah’s Status Report

and Request for Dismissal with Prejudice for Failure to Prosecute.


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       1.      I am the attorney for the Plaintiffs in the above entitled matter.

       2.      That Plaintiff NXLevel Network LLC currently does not operate any sober living

homes. That a successor in interest to NXLevel Network, LLC, Smart Sober Living currently

operates three homes in the City of Sandy, State of Utah. All of the other homes were shut down

and are no longer operating in any of the other jurisdictions since this action commenced.

       3.      That those homes, in fact, have been inspected by the Department of Human

Services.

       4.      On September 22, 2017, Plaintiff NXLevel Network, LLC aka Smart Sober

Living filed seven applications with the City of Sandy for business licensing and zoning

allowances for the seven homes running at that time in Sandy City.

       5.      In March, 2018, further information was provided to Sandy City, at their request,

for the three remaining homes in that City.

       6.      On May 23, 2018, following discussions with the Sandy City attorney, Jody

Burnett, Plaintiff provided additional financial information on the remaining sober living homes.

       7.      It is my understanding that the State of Utah is waiting for the City to issue a

business license before final approval of the sober living homes.

       8.      It is my understanding that a final decision on the business licensing should be

issued within the next 3 to 4 weeks.

       9.      I have been unable to contact all of the original plaintiffs in this matter.

       10.     That we request the Court to set a scheduling conference in six weeks at which

time it is anticipated that all issues for this matter will be resolved and this matter may be

dismissed.


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                                             /s/ Edward W. McBride, Jr.
                                             _____________________________________
                                             Edward W. McBride, Jr.
                                             Attorney for Plaintiffs

                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of May, 2018, I electronically filed the foregoing

Declaration of Edward W. McBride, Jr. with the Clerk of the Court using the CM/ECF system,

which will send notification to the following:


 Kyle J. Kaiser                                      Jody K. Burnett
 J. Clifford Peterson                                Robert C. Keller
 Assistant Utah Attorney General                     WILLIAMS & HUNT
 Sean D. Reyes                                       257 East 200 South, Suite 500
 Utah Attorney General                               P.O. Box 45678
 160 East 300 South, Sixth Floor                     Salt Lake City, UT 84145-5678
 P.O. Box 140856                                     Attorneys for Defendants Draper City, Vivien
 Salt Lake City, UT 84114-0856                       Pearson and David Bernal, and Sandy City
 Attorneys for Defendants State of Utah, Utah
 Department of Human Services, Jeffrey S.
 Harris and Gerald Gansey
                                                     Steve Brooks
 Paul W. Dodd                                        Riverdale City Attorney’s Office
 West Jordan City Attorney’s Office                  4600 S. Weber River Drive
 8000 South Redwood Rd.                              Riverdale, UT 84405
 West Jordan, UT 84088                               Attorney for Defendant Riverdale City
 Attorney for Defendants West Jordan City
 and Brett Su’a

 J. Eric Bunderson
 Claire Gillmor
 Brandon Hill
 WEST VALLEY CITY
 3600 Constitution Blvd.
 West Valley City, UT 84119
 Attorneys for Defendant West Valley City



                                             /s/ Alanna Warnick
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                             ____________________________________
                             Alanna Warnick, Paralegal




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